Case 1:21-cv-00601-WJM-SKC Document 11 Filed 03/26/21 USDC Colorado Page 1 of 2




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF COLORADO


  JAMES HARRISON MASSEY,

                 PLAINTIFF,

  v.                                               CIVIL ACTION NO. 1:21-CV-00601-WJM
  COMPUTERSHARE LIMITED, et al.

                 DEFENDANTS.


                         SPECIALIZED LOAN SERVICING LLC’S
                        CORPORATE DISCLOSURE STATEMENT

         The defendant, Specialized Loan Servicing LLC (“SLS”), submits the following

  disclosure pursuant to Federal Rule of Civil Procedure 7.1:

         SLS is a Delaware limited liability company with its principal place of business in the

  State of Colorado. The sole member of SLS is Specialized Loan Servicing Holdings LLC (“SLS

  Holdings”), a Delaware limited liability company. The sole member of SLS Holdings is

  Computershare Mortgage Services Inc., a Delaware corporation.

                                                   Respectfully submitted,

                                                   /s/ Zachary M. VanVactor
                                                  Zachary M. VanVactor
                                                  Ameena R. Khan
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                                                  Counsel for Defendants,
                                                  Specialized Loan Servicing LLC and
                                                  Computershare Loan Services
Case 1:21-cv-00601-WJM-SKC Document 11 Filed 03/26/21 USDC Colorado Page 2 of 2




                                  CERTIFICATE OF SERVICE
         I hereby certify that on March 26, 2021, a copy of the foregoing was filed electronically

  with the Clerk’s office using the CM/ECF system and served via United States First Class Mail,

  postage prepaid, to the following:


  James Harrison Massey, pro se
  440 Claypool-Boyce Road
  Alvaton, KY 42122




                                                   /s/ Zachary M. VanVactor
                                                  Zachary M. VanVactor




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